                         Casesinking
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          Tugboat sets off to investigate sinking of
          Scandies Rose




                                                to see some answers as to, why
                                                       did she go down?"
                                             PARADIGM MARINE, THE OWNERS OF
          By Matt Leseman | Posted: Sun 6:06 PM, Feb 09, 2020 | Updated: Tue 5:30 PM, Feb 11, 2020

          ANCHORAGE, Alaska (KTUU) - The tugboat Endurance set off from Kodiak Sunday morning to locate and document
          the wreckage of the Scandies Rose, a crab boat that went down with Kve of its seven member crew on New Years
          Eve.

          “They are headed to Sutwick to locate the Scandies and spend a
          few days doing sonar reports, and sending down a [remotely
          operated vehicle] to get pictures of her,” said Gerry Cobban Knagin.
          Knagin is the sister of Gary Cobban, Jr., the captain of the Scandies
          who went missing with the ship, along with his son, David Cobban,
          and the other three crew members.

          The Endurance is owned by Paradigm Marine, an industrial marine
          company that operates out of Kodiak.
                                                                                         The Endurance is a 5750 horsepower tugboat sent
          “That’s what we do,” said Sully Sutherlin, one of Paradigm’s owners.           to investigate the wreckage of the Scandies Rose.
                                                                                                 (Photo courtesy Paradigm Marine)
          “We supply vessels and equipment for salvage, recovery, just about
          anything having to do with the water in Alaska.”

          Sutherlin said Paradigm was approached by the insurance companies involved in the crash, but he has a personal
          connection as well.

          “Gerry and Gary Knagin are dear friends of mine,” he said. “And we hope that this helps.”

          The Endurance is equipped with side-scan sonar and an ROV, which will be operated by a crew from Global Diving


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          and Salvage to Knd the wreckage and get images of it to the agencies investigating the sinking.

          “It’s amazing what they can see on the bottom of the ocean with all that technology,” Knagin said.

          In addition to the investigation, the Endurance will leave behind a buoy remembering the Scandies and its crew.

          “We wrote all of the missing Kve people on those lime-green buoys, and then followed ADF&G regulations for crab
          pot buoys with the number and ‘SR’ for the Scandies Rose,” Knagin said. “Then it’ll mark the spot.”

          She got the idea from her brother.

          “What my brother used to do is he would take those lime-green buoys, and he would put family members’ names,
          like one per buoy, during his crab season,” Knagin said. “I think we got pretty darn close to how he would’ve set up
          his own crab pot buoys.”

          And that’s not the only way the crew of the Endurance is remembering the Scandies.

          “The dags on the Endurance, Captain Mack put up two maritime dags,” Knagin said. “One is Sierra, and one is
          Romeo, and those two put together mean absolutely nothing for maritime business, so headed out on this trip, the
          Sierra-Romeo stands for Scandies Rose.”

          Once the data is sent off to the Marine Board investigating the sinking, they can decide how to continue, but Knagin
          is hoping in the meantime that seeing the wreckage will bring some answers.

          “I just want to see where she lays on the bottom,” she said. “That’ll give us some closure.”

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